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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


 UNITED STATES OF AMERICA,                              CR. NO. 11-00479(01) JMS
                                                        CIV. NO. 18-00198 JMS
                      Plaintiff/Respondent,
                                                        ORDER (1) DENYING
        vs.                                             DEFENDANT’S REMANDED
                                                        MOTION UNDER 28 U.S.C. § 2255
 KENNETH SCOTT GORDON,                                  TO VACATE, SET ASIDE, OR
                                                        CORRECT SENTENCE BY A
                      Defendant/Petitioner.             PERSON IN FEDERAL
                                                        CUSTODY; AND (2) DENYING A
                                                        CERTIFICATE OF
                                                        APPEALABILITY

 ORDER (1) DENYING DEFENDANT’S REMANDED MOTION UNDER 28
 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY A
 PERSON IN FEDERAL CUSTODY; AND (2) DENYING A CERTIFICATE
                        OF APPEALABILITY

                                   I. INTRODUCTION

               On October 29, 2018, this court denied Petitioner Kenneth Scott

 Gordon’s (“Gordon”) Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

 Correct Sentence by a Person in Federal Custody (the “§ 2255 petition”). See ECF

 No. 284 (Cr. No. 11-00479(01) JMS);1 United States v. Gordon, 2018 WL

 5499532 (D. Haw. Oct. 29, 2018) (“Gordon III” or “the October 29, 2018 Order”).



        1
          For administrative purposes, the § 2255 petition was filed both in the underlying
 criminal matter, Cr. No. 11-00479 JMS, and in a separate civil matter, Civ. No. 18-00198 JMS.
 This order refers to filings in the docket from the criminal matter.

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 Gordon’s § 2255 petition raised two grounds for post-conviction relief: (1) error in

 denying his motion to suppress evidence from a duffel bag and wallet, and

 (2) constitutionally ineffective assistance of appellate counsel. See ECF No. 272.

 The October 29, 2018 Order denied the § 2255 petition (1) with prejudice as to the

 motion to suppress because the issues had been raised (and rejected) on direct

 appeal, and (2) without prejudice, for lack of jurisdiction, as to ineffective

 assistance of appellate counsel because the court concluded that only the Ninth

 Circuit could offer Gordon the specific relief he sought (vacating his conviction,

 exclusion of evidence, and/or release on bond) where such relief depended upon

 whether appellate errors would have affected the Ninth Circuit’s decision on his

 direct appeal. See ECF No. 284 at PageID #2556.

                Nevertheless, on December 13, 2019, the Ninth Circuit vacated the

 October 29, 2018 Order and remanded the claim of ineffective assistance of

 appellate counsel for this court to consider its merits in the first instance,

 explaining that “[s]hould Gordon’s claim have merit, the district court can grant

 relief by vacating Gordon’s judgment of conviction.” ECF No. 296 at PageID

 #2633; United States v. Gordon, 787 F. App’x 476, 477 (9th Cir. Dec. 13, 2019)

 (mem.) (“Gordon IV”). 3 After the Ninth Circuit issued its mandate, ECF No. 297,


        3
         It appears odd that a district court judge would have the power to vacate a conviction
 based on the specific claims of ineffective assistance of appellate counsel brought here—waiving
                                                                                     (continued . . .)
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 the parties agreed at a February 13, 2020 status conference that this court should

 decide the remanded claim without an evidentiary hearing, without further

 briefing, and based on the existing record. See ECF No. 299.

                Accordingly, the court has further reviewed the arguments of the

 parties and the existing record—including the Declaration of Georgia K. McMillen

 (counsel on direct appeal) and associated exhibits, ECF Nos. 277-1 to 277-3—and

 DENIES the § 2255 petition. Gordon has not met his burden to demonstrate that

 he was deprived of constitutionally effective assistance of appellate counsel.4

                                     II. BACKGROUND

                The underlying facts of Gordon’s criminal conviction and sentence

 are adequately set forth in (1) the court’s September 10, 2012 Order denying his

 motion to suppress (see ECF No. 105, United States v. Gordon, 895 F. Supp. 2d

 1011 (D. Haw. 2012) (“Gordon I”)); (2) the Ninth Circuit’s memorandum

 disposition affirming his conviction on direct appeal, including affirming the

 court’s denial of his motion to suppress (see ECF No. 267, United States v.

 Gordon, 694 F. App’x 556 (9th Cir. July 24, 2017) (“Gordon II”), cert. denied, 138

 S. Ct. 434 (Nov. 6, 2017)); and (3) the court’s October 29, 2018 Order denying his


 oral argument before the appellate panel, deciding not to file an optional brief before the panel,
 and failing to seek en banc review or certiorari—rather than, for instance, permitting a new
 appeal for a meritorious claim.
        4
           The court’s October 29, 2018 Order denying relief as to the motion to suppress was not
 certified for appeal and remains valid. See Gordon III, 2018 WL 5499532 at *2-3.
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 § 2255 petition, Gordon III. The court does not repeat that factual background

 here.

              During Gordon’s direct appeal, his appointed appellate counsel—after

 filing a 59-page opening brief—declined to submit an optional reply brief. ECF

 No. 277-1 at PageID #2461-62. Appellate counsel attests that her opening brief

 raised all the pertinent Fourth Amendment arguments and relied on the leading

 case law; she explains that it would have been redundant to argue the same issues

 concerning suppression in a reply brief. See id. at PageID #2463-64.

              Appellate counsel also filed an unopposed motion to decide the appeal

 on the briefs. See id. at PageID #2462. She explains that this motion was a matter

 of strategy, attesting that, after reviewing the opening and answering briefs,

 “[b]ecause the record could be construed against [Gordon], as set out in the

 answering brief, I saw little benefit to oral argument [because] it likely would have

 exposed the weaknesses in our arguments.” Id. at PageID #2465. On June 1,

 2017, the Ninth Circuit issued an order specifically finding that “[t]he court is of

 the unanimous opinion that the facts and legal arguments are adequately presented

 in the briefs and record, and the decisional process would not be significantly aided

 by oral argument.” ECF No. 266 at PageID #2311. And on June 14, 2017 the

 matter was submitted without oral argument. Id.




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              On July 24, 2017, a panel of the Ninth Circuit affirmed Gordon’s

 conviction and sentence on direct appeal. See Gordon II, 694 F. App’x at 558.

 Among other issues, the panel upheld the denial of the motion to suppress evidence

 from the duffel bag and wallet. See id. at 557. In this regard, Judge Paez

 concurred with the result but indicated he would have reversed the denial of the

 motion to suppress if not for the holding in United States v. Cook, 808 F.3d 1195

 (9th Cir. 2015), to which, he recognized, he was bound. See Gordon II, 694 F.

 App’x at 558 (Paez, J., concurring). Appellate counsel did not seek rehearing or

 rehearing en banc. See ECF No. 277-1 at PageID #2466-67. She also did not file a

 petition for certiorari to the Supreme Court, although Gordon filed a petition on a

 pro se basis, ECF No. 270, which the Supreme Court denied on November 6, 2017.

 See Gordon v. United States, 138 S. Ct. 434 (2017) (mem.). Gordon then filed his

 § 2255 Petition on May 22, 2018. See ECF No. 272.

                          III. STANDARD OF REVIEW

              The court’s review is governed by 28 U.S.C. § 2255(a), which

 provides:

              A prisoner in custody under sentence of a court
              established by Act of Congress claiming the right to be
              released upon the ground that the sentence was imposed
              in violation of the Constitution or laws of the United
              States, or that the court was without jurisdiction to
              impose such sentence, or that the sentence was in excess
              of the maximum authorized by law, or is otherwise
              subject to collateral attack, may move the court which
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                imposed the sentence to vacate, set aside or correct the
                sentence.

                A court should hold an evidentiary hearing on a § 2255 motion

 “unless the files and records of the case conclusively show that the prisoner is

 entitled to no relief.” 28 U.S.C. § 2255(b). “In determining whether a hearing and

 findings of fact and conclusions of law are required, ‘[t]he standard essentially is

 whether the movant has made specific factual allegations that, if true, state a claim

 on which relief could be granted.’” United States v. Withers, 638 F.3d 1055, 1062

 (9th Cir. 2011) (quoting United States v. Schaflander, 743 F.2d 714, 717 (9th Cir.

 1984)). “Thus, the district court’s decision that [the petitioner’s] ineffective

 assistance claim did not warrant an evidentiary hearing [is] correct if his

 allegations, ‘when viewed against the record, do not state a claim for relief or are

 so palpably incredible or patently frivolous as to warrant summary dismissal.’”

 United States v. Leonti, 326 F.3d 1111, 1116 (9th Cir. 2003) (quoting Schaflander,

 743 F.2d at 717). 5 Conclusory statements in a § 2255 motion are insufficient to

 require a hearing. United States v. Johnson, 988 F.2d 941, 945 (9th Cir. 1993).

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          As set forth above, both parties concur that an evidentiary hearing is not necessary, and
 the court should decide the matter on the existing record. ECF No. 299. The court agrees.
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                                  IV. DISCUSSION

 A.    Ineffective Assistance of Appellate Counsel

              The court reviews a claim of ineffective assistance of appellate

 counsel by applying Strickland v. Washington, 466 U.S. 668 (1984). See, e.g.,

 Bailey v. Newland, 263 F.3d 1022, 1028 (9th Cir. 2001) (citations omitted). Under

 Strickland, “the petitioner must establish that: (1) counsel’s performance fell below

 an objective standard of reasonableness, and (2) a reasonable probability exists

 ‘that, but for counsel’s unprofessional errors, the result of the proceeding would

 have been different.’” Id. (quoting Strickland, 466 U.S. at 688). A court need not

 determine whether counsel’s performance was deficient before examining whether

 the petitioner suffered prejudice as a result of the alleged deficiencies. See

 Strickland, 466 U.S. at 697. In other words, any deficiency that does not result in

 prejudice necessarily fails.

              “In applying Strickland to a claim of ineffective assistance of

 appellate counsel, [the Ninth Circuit has stated] that

              [Strickland’s] two prongs partially overlap when
              evaluating the performance of appellate counsel. In
              many instances, appellate counsel will fail to raise an
              issue because she foresees little or no likelihood of
              success on that issue; indeed, the weeding out of weaker
              issues is widely recognized as one of the hallmarks of
              effective appellate advocacy. . . . Appellate counsel will
              therefore frequently remain above an objective standard
              of competence (prong one) and have caused her client no

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                prejudice (prong two) for the same reason—because she
                declined to raise a weak issue.”

 Bailey, 263 F.3d at 1028-29 (quoting Miller v. Keeney, 882 F.2d 1428, 1434 (9th

 Cir. 1989) (internal citations and footnotes omitted)).

                Gordon claims his appellate counsel was constitutionally ineffective

 in four ways: (1) filing the motion to submit the appeal without oral argument,

 (2) failing to file an optional reply brief, (3) failing to seek rehearing en banc, and

 (4) failing to file petition for certiorari.6 All are without merit.

                First, Gordon has not demonstrated a reasonable probability that oral

 argument would have resulted in a different outcome. Indeed, the Ninth Circuit

 panel specifically determined that it was “of the unanimous opinion that the facts

 and legal argument are adequately presented in the briefs and record, and the

 decisional process would not be significantly aided by oral argument.” ECF No.

 266. He has identified no meritorious argument that could have made a difference

 if made orally, and thus this district court is in no position to find—even

 objectively—that oral argument would have led to a different result before the

 Ninth Circuit. See also United States v. Birtle, 792 F.2d 846, 848 (9th Cir. 1986)




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           It is somewhat unclear whether Gordon raises the failure to file a cert petition as a basis
 for his claim. His memorandum of law did not specifically argue the issue, but his affidavit
 states that “I would have asked counsel to seek both panel rehearing en banc rehearing before
 seeking relief from the U.S Supreme Court.” ECF No. 272-2 at PageID #2394. Nevertheless,
 construing the § 2255 petition liberally, the court briefly addresses this issue as well.
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 (upholding denial of motion to vacate sentence based on alleged ineffective

 assistance of appellate counsel, where counsel failed to appear at oral argument,

 reasoning in part that “[o]ral argument on appeal is not required by the

 Constitution in all cases; nor is it necessarily essential to a fair hearing”) (citation

 omitted).

              Second, Birtle also stated that “[a] reply brief also generally is not

 essential for appellate review.” Id. Just as Gordon’s appellate counsel has

 attested, Birtle reasoned that “parties often decide not to file a reply brief as a

 matter of appellate strategy or because they perceive no need to do so.” Id. And

 just as with oral argument, Gordon has not identified a meritorious written

 argument that could have been made in a reply brief that might have resulted in a

 different outcome—especially given the “‘general rule . . . that appellants cannot

 raise a new issue for the first time in their reply briefs.’” Id. (quoting Thompson v.

 Comm’r, 631 F.2d 642, 649 (9th Cir. 1980) (other citation omitted)). He has thus

 “failed to demonstrate that he was denied effective assistance of counsel on

 appeal,” id. at 849, for counsel’s decision not to file a reply.

              Third, as to the failure to seek rehearing en banc, based on other

 circuits’ case law, it appears that a defendant has no constitutional right to counsel

 at that stage. See, e.g., Jackson v. Johnson, 217 F.3d 360, 365 (5th Cir. 2000)

 (denying habeas petition, holding that “a criminal defendant has no constitutional

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 right to counsel on matters related to filing a motion for rehearing following the

 disposition of his case on direct appeal”); United States v. Chandler, 291 F. Supp.

 2d 1204, 1213 (D. Kan. 2003) (rejecting claim under § 2255 that counsel was

 ineffective for failing to seek en banc review before the Tenth Circuit, citing

 McNeal v. United States, 54 F.3d 776 (6th Cir. 1995) (table case) for its holding

 that “there is no constitutional right to counsel in seeking rehearing en banc”—and

 where there is no constitutional right to counsel, the client’s “constitutional rights

 cannot be violated by the allegedly defective performance of his attorney”).

                 But even if Gordon has such a constitutional right, he has not

 demonstrated that counsel’s failure to file a motion seeking en banc review would

 have been successful, much less that an en banc panel likely would have vacated

 the panel’s disposition. En banc review is “not favored and ordinarily will not be

 ordered unless: (1) en banc consideration is necessary to secure or maintain

 uniformity of the court’s decisions; or (2) the proceeding involves a question of

 exceptional importance.” Fed. R. App. P. 35(a). Neither of these circumstances

 exist here. 8


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          Judge Paez’s concurrence on direct appeal suggests that he disagreed with Ninth Circuit
 precedent that required affirming the denial of the motion to suppress. See Gordon II, 694 F.
 App’x at 558. At best, however, this means only that there might have been some basis to seek
 review, and certainly does not mean a petition would have been granted and then been successful
 before an en banc court. And Judge Paez could have sought en banc review sua sponte if he
 considered the issue worthy enough. See Ninth Cir. Gen. Order 5.4(c)(1) & (3). Moreover, the
 case he referred to—United States v. Cook, 808 F.3d 1195 (9th Cir. 2015)— remains valid
 precedent to this day.
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              Finally, the failure to file a petition for certiorari necessarily cannot

 constitute ineffective assistance—no such right exists. See, e.g., Miller, 882 F.2d

 at 1432 (“Because Miller had no constitutional right to counsel in connection with

 the filing of a certiorari petition, he had no constitutional right to the effective

 assistance of counsel for that purpose.”).

 B.    Certificate of Appealability

              In denying a § 2255 Motion, the court must also address whether

 Gordon should be granted a certificate of appealability (“COA”). See R. 11(a)

 Governing Section 2255 Proceedings (providing that “[t]he district court must

 issue or deny a certificate of appealability when it enters a final order adverse to

 the applicant”). A COA may issue only if the petitioner “has made a substantial

 showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

              The court carefully reviewed all of Gordon’s assertions and gave him

 every benefit by liberally construing them. Based on the above analysis, the court

 finds that reasonable jurists could not find the court’s rulings to be debatable. See

 Slack v. McDaniel, 529 U.S. 473, 484 (2000) (holding that a certificate of

 appealability should issue only if a prisoner shows, among other things, “that

 jurists of reason would find it debatable whether the district court was correct in its

 procedural ruling”). Accordingly, the court DENIES issuing a COA.




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                                     V. CONCLUSION

               For the foregoing reasons, the court DENIES Gordon’s § 2255

 Motion and DENIES a COA. The Clerk of Court is directed to close the case file.

               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, March 27, 2020.


                                                            /s/ J. Michael Seabright
                                                           J. Michael Seabright
                                                           Chief United States District Judge




 United States v. Gordon, Cr. No. 11-00479(01) JMS; Civ. No. 18-00198JMS, Order
 (1) Denying Defendant’s Remanded Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or
 Correct Sentence by a Person in Federal Custody; and (2) Denying a Certificate of Appealability




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